Case 3:17-cv-00072-NKM-JCH Document 109 Filed 11/15/17 Page 1of1 Pageid# 498

UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA

 

Elizabeth Sines, et al.

Plaintiff
VS. Case No: 3:17CV06072

Jason Kessler, et al.

Defendant

AFFIDAVIT OF SERVICE

L, Jim Perna, a Private Process Server, being duly swom, depose and say:

That I have been duly authorized to make service of the Summons, Civil Cover Sheet with Addendum, Complaint, and Plaintiffs'
Jury Demand in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this matter.

That on 10/22/2017 at 4:07 PM, I served Jeff Schoep with the Summons, Civil Cover Sheet with Addendum, Complaint, and
Plaintiffs’ Jury Demand at 22803 Rausch Avenue, Eastpointe, Michigan 48021, by serving Jeff Schoep, personally.

Jeff Schoep is described herein as:

Gender: Male Race/Skin: White Age: 40's Weight: 180 Height: 5'0" Hair: Balding Glasses: No

I do solemnly declare and affirm under penalty of perjury that I have read the foregoing information set forth herein is correct to
the best of my knowledge, information, and belief.

 

Executed On JpaPema

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Client Ref Number:N/A
Job # 1534613

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
